Case 1:21-cv-21701-JLK Document 1 Entered on FLSD Docket 05/04/2021 Page 1 of 10




                           UNITED STATE DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA          MAY - 3 2021




  HAROLD JEAN-BAPTISTE
  1605 NE 141st STREET
  NORTH MIAMI FL 33181

  Plaintiff

  V.

  Copart
  14185 DALLAS PARKWAY
  SUITE 400
  DALLAS, TX 75254

               REGISTEERED AGENT:
                     CORPORATION SERVICE COMPANY
                     1201 HAYS STREET
                     TALLAHASSEE, FL 32301-2525

  V.

  Abetterbid LLC
  15431 WEST DIXIE HIGHWAY
  BAY#3
  NORTH MIAMI BEACH, FL 33162

               REGISTEERED AGENT:
                     JURGIS, PLIKAITIS
                     15431 WEST DIXIE HIGHWAY
                     BAY#3
                     NORTH MIAMI BEACH, FL 33162

  Defendants




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Case 1:21-cv-21701-JLK Document 1 Entered on FLSD Docket 05/04/2021 Page 2 of 10




      COMPLAINT FOR VIOLATION 15 U.S. CODE§ 45, 15 U.S. CODE§ 52, 15 U.S. CODE§ 53,
           15 U.S. CODE§ 54, 18 U.S. CODE§ 241, 18 U.S. CODE§ 511 AND NEGLIGENCE



                                             NATURE OF ACTION


  The plaintiff brings this action under 15 U.S. Code§ 45, 15 U.S. Code§ 52, 15 U.S. Code§ 53,

  15 U.S. Code§ 54, 18 U.S. Code§ 241 and 18 U.S. Code§ 511. Plaintiff bring this action
  individually and on behalf of himself against Abetterbid LLC and Copart who have been
  conspired to violate Constitutional Civil Rights, Counterfeiting and Forgery, False Advertising,
  Negligence, and Federal Trade Commission Act. The defendant's willfully, negligently and lack
  of care of duty and collusion sold an illegal vehicle purposely to put the plaintiff in position to
  violate Federal Law, knowingly selling a vehicle with a tampered Vehicle Identification Number
  (VIN) (Tampered VIN:# JB116 4704866) on their website and facility to the plaintiff. The
  i:lefendants offered a vehicle for sale base on False Advertisement practices to generate a
  higher sale price for a vehicle, the defendants never stated the Vehicle Identification Number
  (VIN) was tampered or not matching the Title Certificate of the vehicle. The defendants never
  stated accurately on their website the true condition of the vehicle was not fit for the driving
  or repair. The Vehicle Identification Number (VIN), displayed on Abetterbid LLC and Copart
  website is (VIN:# SALTY16443A795471) which is located on the door and dash of the vehicle as
  stated by law. The actions of the defendant's negligence and purposely mislead the plaintiff to
  purchase an illegal vehicle and treated the plaintiff in a cruel and inhuman manner, their
  action was intended to compromise the freedom of the plaintiff to propel the plaintiff to
  violate Federal Law willfully and negligently. Plaintiff was taking advantage of and suffered
  adverse cruel human treatment by Abetterbid LLC and Copart.


                                         JURISDICTION AND VENUE


       1. Jurisdiction is proper in this court in that the district courts have original jurisdiction
           over Title VII, under 28 U.S.C. § 1331 and 1343 and 42 U.S.C.§ 2000e-5(f)(3), because

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Case 1:21-cv-21701-JLK Document 1 Entered on FLSD Docket 05/04/2021 Page 3 of 10




           they arise under the laws of the United States and are brought to recover damages for

           deprivation of Civil Rights, Negligence, Constitutional Rights, Counterfeiting and

           Forgery and violation Federal U.S Codes.



      2. Venue is proper in this judicial district under 28 U.S.C. § 1391(b)-(c) and 42 U.S.C. §

           2000e-S(f)(3), the defendant's registered agent, or office is located in this district, the

           personnel records relevant to this case are in this district and the personnel practices

           challenges herein were directed or supervised by defendants in this district.


      3.   Plaintiff have exhausted administrative remedies prior to bringing this suit. The

           plaintiff requested a full refund of the transaction, vehicle removed from his property

           and informed Abetterbid LLC and Copart the vehicle violate Federal Law on 4/22/20.

           Hence why this lawsuit has been filed again Abetterbid LLC and Copart requesting the

           court to resolve this matter.


      4.   Abetterbid LLC and Copart Inc is sued herein in his official capacity.

      5.   Plaintiff Harold Jean-Baptiste, a is a resident of the state of Florida in the Southern

           District.


                                           FACTUAL BACKGROUND

      6.   On April 12, 2021 9:12pm UTC
              a. The plaintiff purchased a vehicle on Copart via Abetterbid.com for a

                    2003 Land Rover Discovery 4.6L for Sale in Pennsburg PA - Lot: 38807881

                    advertise as "Normal Wear" and "Clean Title" vehicle "Runs and Drive" to

                    register in Florida State. The images of the vehicle never displayed the

                    tampered Vehicle Identification Number (VIN), (Tampered VIN:# JB116

                    4704866), or the vehicle condition was not fit for driving.


      7.   April 14, 2021

               c.   A wire transfer via Chase Bank was sent for payment of the vehicle to

                    Abetterbid LLC for $4208.00. A receipt of payment was received by the
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Case 1:21-cv-21701-JLK Document 1 Entered on FLSD Docket 05/04/2021 Page 4 of 10




                  Abetterbid LLC on April 14, 2021.

      11. April 15, 2021
             a. Abetterbid LLC rush the vehicle for shipment using Cedar Courier Inc to the
                  plaintiff mother's home 253-37 148th Drive, Rosedale NY 11422 at 9:30 pm and
                  drop the vehicle two block away on 149th Ave Drive and 253rd Street in
                  Rosedale so the plaintiff can come get the car, the plaintiff informed the driver
                  his not able to drive in New York State base on traffic ticket that has been
                  resolve now and the plaintiff's sister Fiara Eugene would drive the car two
                  block to his home. At the around corner at 148th Drive and 253rd Street was a
                  NYPD Police car park observing the delivery of the car, plaintiff's sister Fiara
                  Eugene was witness to this event.


      12. April 20, 2021
             f.   The plaintiff inspected the car and realized the vehicle as a tampered Vehicle
                  Identification Number under the hood on the driver side front leg of the car.
                  The plaintiff email Abetterbid LLC at info@abetter.bid and Edward
                  Davidheiser at Edward.Davidheiser@Copart.Com the General Manager of the
                  lot the vehicle was sold at, to informed them the vehicle was an illegal vehicle
                  because the Vehicle Identification Number was tampered with. Edward
                  Davidheiser requested proof of the tampered Vehicle Identification Number
                  and the plaintiff share images via email to show the two Vehicle Identification
                  Numbers (Tampered VIN:# JB116 4704866} on the car violate Federal Law, 18
                  U.S. Code§ 511-Altering or removing motor Vehicle Identification Numbers.

      13. April 21, 2021

              a. Edward Davidheiser emailed the plaintiff stated the tampered Vehicle
                   Identification Number (VIN) image sent was accurate number. He stated, "The
                   photo you sent is not a VIN, nor is it intended to", the plaintiff stated by
                   Federal Law a vehicle can only have one Vehicle Identification number, and
                   that number under the hood is tampered Vehicle Identification Number (VIN)

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Case 1:21-cv-21701-JLK Document 1 Entered on FLSD Docket 05/04/2021 Page 5 of 10




                  (Tampered VIN:# JB116 4704866}. The plaintiff clearly stated via email that
                  no other part on the car has part a number and the tempered Vehicle
                  Identification Number (VIN} under the hood violate Federal Law (U.S. Code§
                  511} should not have been sold to the plaintiff and position the plaintiff to be
                  arrested under Federal Law. Most importantly the actions of Abetterbid LLC
                  and Copart infringe to violate the plaintiff's Civil Rights, by selling an illegal
                  vehicle willfully and negligently. Selling a vehicle that is illegal willfully and
                  negligently is an attempt to set the plaintiff for Federal Arrest.

      14. April 22, 2021
             g.   The plaintiff call Edward Davidheiser to request a full refund and come
                  remove the vehicle out his driveway, Edward Davidheiser who is the General
                  Manager of a Copart facility told the plaintiff he should go register the vehicle
                  at OMV with a tampered Vehicle Identification Number (Tampered VIN:#
                  JB116 4704866) that would not be an issue. Edward Davidheiser purposely
                  advised the plaintiff to register an illegal vehicle to place the plaintiff in a
                  position to be arrested. The plaintiff emailed Edward Davidheiser of the
                  request and wanted confirmation of what he stated and the actions to
                  conspire to violate the plaintiff's Civil Rights.


                                 THE UNLAWFUL PRACTICES

      15. The defendants target the plaintiff with malicious intentions and negligent to sale an
         illegal vehicle to take advantage of the plaintiff by treated him unfairly and conspire to
         violate Federal Law 15 U.S. Code§ 45, 15 U.S. Code§ 52, 15 U.S. Code§ 53, 15 U.S.
         Code§ 54, 18 U.S. Code§ 241 and 18 U.S. Code§ 511. Abetterbid LLC and Copart
         conspire to take advantage of the plaintiff by selling him an illegal vehicle and place in
         position to violate Federal Laws (U.S. Code§ 511) and to steal the plaintiff freedom.



                                         THE PLAINTIFFS BACKGROUND


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Case 1:21-cv-21701-JLK Document 1 Entered on FLSD Docket 05/04/2021 Page 6 of 10




      16. Plaintiff Harold Jean-Baptiste graduated cum laude from Long Island University with

         Bachelor's in Information System, Summa Cum Laude, MBA in Finance Magna Cum

         Laude from Long Island University and Juris Doctorate Student at University of

         Baltimore. The plaintiff has a clean background.

                                               VIOLATION OF LAW


             17. The defendants Abetterbid LLC and Copart violated Federal Trade Commission

                 practice by using unfair methods of competition unlawful; prevention by

                 Commission to take advantage of the plaintiff violate 15 U.S. Code§ 45.



             18. The defendants Abetterbid LLC and Copart violated Counterfeiting and Forgery

                 to a vehicle and selling a Counterfeiting and Forgery vehicle to take advantage

                 of plaintiff violate 18 U.S. Code§ 511.



             19. The defendants Abetterbid LLC and Copart violated Federal Trade Commission

                 practice by Dissemination of false advertisements to take advantage of the

                 plaintiff violate 15 U.S. Code§ 52.



             20. The defendants Abetterbid LLC and Copart violated Federal Trade Commission

                 practice by false advertisements violation of section 52 to take advantage of

                 the plaintiff violate 15 U.S. Code§ 53.




             21. The defendants Abetterbid LLC and Copart violated Federal Trade Commission

                 practice by false advertisements to defraud or mislead violation of section

                 52(a} to take advantage of the plaintiff violate 15 U.S. Code§ 54.



             22. The defendants Abetterbid LLC and Copart were negligent, lack of care of duty

                 to sale an illegal vehicle to position the plaintiff to violate Federal Law 18 U.S.

                 Code§ 511.

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Case 1:21-cv-21701-JLK Document 1 Entered on FLSD Docket 05/04/2021 Page 7 of 10




                23. The Abetterbid LLC and Copart willfully and negligently conspire to oppress,

                     deprivation rights, privileges, or protected by the Constitution or Laws of the

                     United States, direct violation of 18 U.S. Code§ 241.


   Plaintiff have experienced severe and pervasive unfair treatment which a reasonable person

   would tolerate. WHEREFORE, Plaintiff request that the court to execute a full fact-finding

   review, since April 12, 2021 of adverse action on the plaintiff, which was subjected to an unfair

   treatment, suffered severe emotional distress because of the cruel intention. The Abetterbid

   LLC and Copart are liable for the actions against the plaintiff willfully and negligently, lack of

   care of duty and violating Constitutional Civil Rights Laws and Federal Statutes. The plaintiff file

   suit to resolve this matter and prevent these actions to propel the plaintiff violate Federal

   Laws.



            PRAYER FOR RELIEF
            Plaintiffs request relief as follows:
               a.    Issue a Declaratory Judgment against Abetterbid LLC and Copart practices

                     violate 15 U.S. Code§ 45, 15 U.S. Code§ 52, 15 U.S. Code§ 53, 15 U.S. Code

                     § 54, 18 U.S. Code§ 511, 18 U.S. Code§ 241, 18 U.S. Code§ 511 and

                     Negligence.



                b.   Order the Abetterbid LLC and Copart to issue a full refund of the transaction,

                     remove the vehicle on the plaintiff's property.



                c.   Award punitive damages $50,000,000 for violation of Federal law and selling

                     the plaintiff a vehicle that would oppress his livelihood and subjected to

                     violate Federal Statute. Plaintiff's freedom is priceless, being here to raise his

                     6-year-old son is priceless and being here to help is 73-year-old mother is

                     priceless.



                d.   Award damages for emotional distress for the plaintiff based on the fact the
Case 1:21-cv-21701-JLK Document 1 Entered on FLSD Docket 05/04/2021 Page 8 of 10




                  actions of the defendant cause emotion harm to compromise the plaintiff's

                  freedom.



             e.   Award any Attorneys' fees according to proof.



             f.   Provide such other relief as may be deemed just and Prop.



   Respectfully Submitted

   /sfHarold Jean-Baptiste



    Harold Jean-Baptiste
    1605 141st Street
    North Miami FL, 3181
  _ E-Mail: hbaptiste@influctec.com
    786-657-8158 Cell




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Case 1:21-cv-21701-JLK Document 1 Entered on FLSD Docket 05/04/2021 Page 9 of 10


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